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Geraldine A. Wyle, State Bar No. 089735 ES SUPERIOR COURT
Jeryll S. Cohen, State Bar No. 125392 LOS ANGEL
Vivian Lee Thoreen, State Bar No. 224162

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Attorneys for Petitioner James P. Spears

SUPERIOR COURT OF THE STATE OF CALIFORNIA
COUNTY OF LOS ANGELES, CENTRAL DISTRICT

In the Matter of the CASE NO. BP 1O€8 70

CONSERVATORSHIP OF BRITNEY JEAN

SPEARS CONSENT TO ACT AS CONSERVATOR
OF THE ESTATE

Date: February 1, 2008
Time: 10:30 a.m.

Dept.: 4

Judge: Hon. Aviva K. Bobb

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I, Andrew M. Wallet, hereby consent to act as conservator of the estate of the proposed

conservatee, Britney Jean Spears.

Dated: /-&/- os”

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CONSENT TO ACT AS CONSERDVATAD An TIT parse

